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 6

 7
                     IN THE UNITED STATES DISTRICT COURT
 8
                   EASTERN DISTRICT OF CALIFORNIA, FRESNO
 9

10

11   UNITED STATES OF AMERICA,           ) Case No.: 1:10-CR-00287-AWI
                                         )
12             Plaintiff,                )
                                         ) Request to File Under Seal
13       vs.                             ) Character Letters and
                                         ) Certificates and Attach to
14                                       ) Presentence Report.
     FERNANDO AVILA,                     )
15                                       )
               Defendant.                )
16

17        TO THE ABOVE ENTITLED COURT AND THE ASSISTANT UNITED
     STATES ATTORNEY FOR THE EASTERN DISTRICT OF CALIFORNIA:
18

19       Defendant, Fernando Avila, by and through his attorney
20   Anthony P. Capozzi, hereby requests that the Character
21   Letters and Certificates be attached to the Presentence
22   Report and filed under seal with copies of said letters being
23   served upon the United States Attorney and the Probation
24   Department.
25       This request is made pursuant to Local Rule 141(a) which
26   states that presentence reports are confidential records of
27   the United States District Court.             Under the Local Rule the
28   reports   are   only    to    be   disclosed      to   the    court,       court
                                          - 1 -
           Request to Seal Character Letters and Attach to Presentence Report
                               CASE NO.: 1:10-CR-00287-AWI
           Case 1:10-cr-00287-AWI Document 158 Filed 03/08/13 Page 2 of 3


 1   personnel, the defendant, the defendant’s counsel, the defense
 2   investigator, and the United States Attorney’s office.                         Only
 3   these people or parties should have access to the Character
 4   Letters.
 5         The     contents      of    the    Presentence       Report      sets     out
 6   confidential and sensitive information that is subject to the
 7   Defendant’s privacy rights.
 8         The Character Letters are from the following individuals:
 9                a. Miguel Reyes,
10                b. Leopoldo Reyes,
11                c. Esmeralda Reyes,
12                d. Francisco Reyes, and
13                e. Laura Marisol Avila.
14         The Certificates are from the Following Programs:
15                a. Saints Healthy Marriage Project “Couplehood”,
16                b. Saints Healthy Marriage Project “10 Great Dates”,
17                c. Saints Healthy Marriage Project “Inside out Dad”,
18                d. National Fatherhood Initiative “Father Inside and
19                Out,” and
20                e. Saints Healthy Marriage Project “loveU2.”
21    The total number of pages is eleven(11).
22         Accordingly, it is requested that the Character Letters
23   and Certificates be attached to the Presentence Report and be
24   Sealed      with   copies    served     electronically      upon    the       United
25   States Attorney and the Probation Department.
26   ///
27   ///
28   ///
                                             - 2 -
              Request to Seal Character Letters and Attach to Presentence Report
                                  CASE NO.: 1:10-CR-00287-AWI
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 1                                             Respectfully submitted,
 2   DATED: March 7, 2013
 3                                             /s/ Anthony P. Capozzi
                                               Anthony P. Capozzi
 4                                             Attorney for,
                                               FERNANDO AVILA
 5

 6

 7

 8                                        ORDER
 9

10         For reasons set forth above, the defendants request to
11   have Character Letters and Certificates attached to the
12   Presentence Report and filed Under Seal is granted.
13

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16
     IT IS SO ORDERED.
17

18   Dated: March 8, 2013
                                        SENIOR DISTRICT JUDGE
19
                                               DEAC_Signature-END:




20                                             0m8i788

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                                            - 3 -
             Request to Seal Character Letters and Attach to Presentence Report
                                 CASE NO.: 1:10-CR-00287-AWI
